     Case 1:16-cv-00519-GJQ-RSK ECF No. 6 filed 09/30/16 PageID.27 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

SANTIAGO ABREU,

         Plaintiff,
                                                 Case No.: 1:16−cv−00519−GJQ−RSK
v.
                                                 Hon. Gordon J. Quist
ALOHA KALAMAZOO, LLC,

         Defendant.



                STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

         The parties, by and through the undersigned counsel, stipulate and agree to the dismissal

of Plaintiff’s Complaint, including any amendments and all claims made therein, against

Defendant, Aloha Kalamazoo, LLC, in its entirety with prejudice and without costs or fees to

either party.

         This is a final order and closes the case. The court shall retain jurisdiction over this

matter to enforce the terms of the settlement agreement as necessary.



IT IS SO ORDERED.

                                                           /s/ Gordon J. Quist
Dated:     September 30, 2016                             Hon. Gordon J. Quist




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  Case 1:16-cv-00519-GJQ-RSK ECF No. 6 filed 09/30/16 PageID.28 Page 2 of 2



STIPULATED BY:


/s/ George T. Blackmore                   /s/ Robb S. Krueger
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Dated: September 30, 2016




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